     Case 3:18-cv-01895-AJB-MSB Document 138 Filed 09/25/20 PageID.1497 Page 1 of 4




1     JAMES E. SMITH (DC Bar No. 482985)
      Email: smithja@sec.gov
2     CHRISTIAN SCHULTZ (DC Bar No. 485557)
3     Email: schultzc@sec.gov
      KEVIN GUERRERO (AZ Bar No. 023673)
4     Email: guerrerok@sec.gov
5     LAURA J. CUNNINGHAM (DC Bar No. 1029465)
      Email: cunninghaml@sec.gov
6     WARREN E. GRETH, JR. (VA Bar No. 72988)
7     Email: grethw@sec.gov
      CORI M. SHEPHERD (DC Bar No. 993503)
8     Email: shepherdco@sec.gov
9
      Attorneys for Plaintiff
10    Securities and Exchange Commission
11    100 F Street, NE
      Washington, DC 20549
12    Telephone: (202) 551-8430
13    Facsimile: (202) 772-9282

14                        UNITED STATES DISTRICT COURT
15                     SOUTHERN DISTRICT OF CALIFORNIA
16
17
        SECURITIES AND EXCHANGE                     Case No. 3:18-cv-01895-AJB-LL
18      COMMISSION,
19                                                  PLAINTIFF’S NOTICE OF
                    Plaintiff,                      MOTION FOR REMEDIES
20                                                  ORDER AND ENTRY OF
              vs.
21                                                  FINAL JUDGMENT
        RMR ASSET MANAGEMENT
22      COMPANY, et al.,                            Date: December 3, 2020
23                                                  Time: 2:00 p.m.
                    Defendants.                     Ctrm: 4A
24                                                  Judge: Hon. Anthony J. Battaglia
25
26
27
28
     Case 3:18-cv-01895-AJB-MSB Document 138 Filed 09/25/20 PageID.1498 Page 2 of 4




1           TO ALL PARTIES AND THEIR RESPECTIVE ATTONREYS OF

2     RECORD:
3
            PLEASE TAKE NOTICE: On December 3, 2020 at 2:00 p.m., or as soon
4
5     thereafter as may be heard, in the United States District Court for the Southern

6     District of California, Courtroom 4A, located at 221 West Broadway, San Diego,
7
      CA 92101, Plaintiff Securities and Exchange Commission (“SEC”) will, and
8
9     hereby does, move this Court for an order on remedies, entry of final judgment,

10    and dismissal with prejudice of the SEC’s Third Claim for Relief – for Violations
11
      of MSRB Rule G-17 – against Defendant Jocelyn M. Murphy.
12
13          This motion is based upon this Notice of Motion; the attached Memorandum

14    of Points and Authorities; supporting declarations and exhibits; the Court’s records
15
      and files in this action; and such further argument as may be presented to the Court
16
17    in further briefing or at the time of the hearing on this motion. A copy of the
18    SEC’s proposed judgment against each Defendant is being filed with this motion.
19
       Dated: September 25, 2020                    Respectfully submitted,
20
21
                                                    /s/ James E. Smith
22
                                                    JAMES E. SMITH
23                                                  Christian Schultz
                                                    Laura J. Cunningham
24
                                                    Cori M. Shepherd
25                                                  Kevin Guerrero
                                                    Attorneys for Plaintiff
26
                                                    Securities and Exchange Commission
27
28
     Case 3:18-cv-01895-AJB-MSB Document 138 Filed 09/25/20 PageID.1499 Page 3 of 4




1
                                CERTIFICATE OF SERVICE
2
3           I hereby certify that, on September 25, 2020, I served Plaintiff’s Motion and
      Memorandum of Points and Authorities in Support of Motion for Remedies to be
4     Imposed Against Defendants on the individuals identified on the service list
      provided below by the following means:
5
             ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed
6     for collection and mailing today following ordinary business practices. I am
      readily familiar with this agency’s practice for collection and processing of
7     correspondence for mailing; such correspondence would be deposited with the
      U.S. Postal Service on the same day in the ordinary course of business.
8
             ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed
9     envelope(s), which I personally deposited with the U.S. Postal Service. Each such
      envelope was deposited with the U.S. Postal Service at Los Angeles, California,
10    with first class postage thereon fully prepaid.
11           ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a
      facility regularly maintained at the U.S. Postal Service for receipt of Express Mail,
12    with Express Mail postage paid.
13          ☐      HAND DELIVERY: I caused to be hand delivered each such
      envelope to the office of the addressee as stated on the attached service list.
14
            ☐      UNITED PARCEL SERVICE: By placing in sealed envelope(s)
15    designated by United Parcel Service (“UPS”) with delivery fees paid or provided
      for, which I or someone on my behalf deposited in a facility regularly maintained
16    by UPS or delivered to a UPS courier.
17           ☒      ELECTRONIC MAIL: By transmitting the document by electronic
      mail to the electronic mail address as stated on the attached service list.
18
             ☒     E-FILING: By causing the document to be electronically filed via
19    the Court’s CM/ECF system, which effects electronic service on counsel who are
      registered with the CM/ECF system.
20
            ☐     FAX: By transmitting the document by facsimile transmission. The
21    transmission was reported as complete and without error.
22
            I declare under penalty of perjury that the foregoing is true and correct.
23
24
       Date: September 25, 2020                         /s/ James E. Smith
25                                                        James E. Smith
26
27
28
     Case 3:18-cv-01895-AJB-MSB Document 138 Filed 09/25/20 PageID.1500 Page 4 of 4




1              SEC v. RMR ASSET MANAGEMENT COMPANY, et al.
              United States District Court—Southern District of California
2                           Case No. 3:18-cv-01895-AJB-LL
3
                                    SERVICE LIST
4
5                Robert Knuts, Esq. (served by email only)
                 Sher Tremonte LLP
6                90 Broad Street, 23rd Floor
                 New York, NY 10004
7                Email: rknuts@shertremonte.com
                 Counsel for Defendants Jocelyn M. Murphy and Michael S. Murphy
8
9                Thomas D. Mauriello, Esq. (served by email only)
                 Mauriello Law Firm, APC
10               1230 Columbia Street, Suite 1140
                 San Diego, CA 92101
11               Email: tomm@maurlaw.com
                 Counsel for Defendants Jocelyn M. Murphy and Michael S. Murphy
12
13               Richard Gounaud (served by email only)
                 9 Cliffwood Road
14               Chester, NJ 07930
                 Defendant in Pro Se
15
16
17
18
19
20
21
22
23
24
25
26
27
28
